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     Attorney for Defendant:
 5   YI CHEN
 6
 7                                UNITED STATES DISTRICT COURT

 8                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9
                                                           Case No. CR-21-00075-MCS
10   UNITED STATES OF AMERICA,
               Plaintiff,                                  Stipulation of the Parties for
11        vs.                                              Release of Defendant Yi Chen on Bond
12
     YI CHEN
13
                   Defendant.
14
15              Plaintiff United States of America, by and through its attorney of record,
16    Assistant United States Attorney Matthew Chan and Julia Hu, and defendant Yi Chen, by
17    and through his attorney, Lisa Zhao Liu, hereby stipulate and request that the Court release
18    defendant Yi Chen on bond upon the following conditions after discussion with Pretrial
19    Services (PSA):
20    1. Within 48 hours, Defendant to appear and sign for his own bond;
21    2. An appearance bond in the amount of $100,000, to be secured with the filing of one
22       Affidavit of Surety without Justification to be signed by Kevin Nee;
23    3. Defendant shall submit to supervision by PSA;
24    4. Defendant shall surrender all passports to PSA and not apply for a passport during the
25       pendency of this case;
26    5. Defendant's travel is restricted to the Central District of California unless permission is
27       granted by PSA. Court permission is required for international travel;
28    6. Defendant shall reside as approved by pretrial services and not relocate without prior
         permission by PSA;
                                                    1
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 1    7. Defendant shall maintain and/or seek employment as approved by pretrial services;
 2    8. Defendant shall avoid all contact, directly or indirectly including by any electronic
 3       means with any known co-defendant except in the presence of counsel;

 4    9. Defendant shall not use or possess any identification, mail matter, access device, or
 5       identification-related material other than in your own legal or true name without prior
 6       permission from PSA;
 7    10. Defendant shall participate in the Location Monitoring Program and abide by all of the
 8       requirements of the program, under the direction of PSA, which will include a location
 9       monitoring bracelet. It will be location monitoring only with no restrictions. Location
10       Monitoring to be set up 24 hours after the defendant is released and defendant will be
11       responsible for all costs associated with the Location Monitoring Program in his case.
12
13
      IT IS SO STIPULATED
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16   DATED: ___________________                          __________________________________
17                                                       Matthew Chan
18                                                       Special Assistant United States Attorney
19
20   DATED: ___________________                          __________________________________
21                                                       Lisa Zhao Liu
22                                                       Attorney for Defendant
23                                                       YI CHEN
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